                                                               CLERKS OFFICE U.S. DIST. COURT
                                                                  AT CHARLOTTESVILLE, VA
                                                                         FILED
                                                                      10/28/2019
                           IN THE UNITED STATES DISTRICT COURT
                                                                  JULIA C. DUDLEY, CLERK
                          FOR THE WESTERN DISTRICT OF VIRGINIA    BY: /s/ J. JONES
                                    Charlottesville Division          DEPUTY CLERK
  ELIZABETH SINES et al.,                       )
       Plaintiffs,                              )       Civil Action No. 3:17-cv-00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER et al.,                         )       By:    Joel C. Hoppe
       Defendants.                              )              United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ Motion to Compel Defendant National

  Socialist Movement to Disclose Custodians of Discoverable Documents and Information, ECF

  No. 547, and other discovery matters. Defendant National Socialist Movement (“NSM”) did not

  file its brief in opposition within the fourteen days allowed by the Scheduling Order, ECF No.

  101. See Def. NSM’s Resp. in Opp’n to Pls.’ Mot. to Compel (Oct. 18, 2019), ECF No. 575. On

  October 18, 2019, the Court held a status conference to discuss several Defendants’ outstanding

  discovery obligations and to set a timeline for the parties to complete pretrial discovery. Counsel

  for Plaintiffs and all represented Defendants, as well as pro se Defendants Christopher Cantwell,

  Matthew Heimbach, and Vanguard America (by Dillon Hopper), appeared by telephone. Pro se

  Defendant Elliot Kline (a.k.a. Eli Mosley) received notice of the conference call, but he did not

  appear. For the reasons stated on the record during the conference, it is hereby ORDERED that:

         1.      Plaintiffs’ motion to compel, ECF No. 547, is GRANTED. Plaintiffs’ request for

  attorney’s fees is withdrawn per counsel’s representations at the status conference.

         2.      BURT COLUCCI, who has been identified as the leader of both Defendant NSM

  and non-party “National Socialist Movement Corporation,” is ORDERED to appear for a

  deposition by Plaintiffs’ counsel devoted exclusively to Mr. Colucci’s and/or Defendant NSM’s

  conduct in pretrial discovery, including their efforts to locate and preserve any documents,



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  information, or materials that are potentially relevant to this lawsuit. Fed. R. Civ. P. 30(b)(6).

  The Court expects that Mr. Colucci will appear and participate in good faith as required by the

  Federal Rules of Civil Procedure and this Court’s prior discovery orders. Plaintiffs are given

  leave to depose Mr. Colucci in subsequent depositions on the merits of their allegations against

  Defendant NSM. See ECF No. 517 (citing Fed. R. Civ. P. 30(a)(2)(A)(ii)).

         3.      Within seven (7) days of this Order, each Defendant shall contact the Third Party

  Discovery Vendor (the “Vendor”) to determine what specific information, if any, the Vendor

  needs to access that Defendant’s identified social media accounts and devices.

         4.      Within fourteen (14) days of this Order, each Defendant shall give the Vendor

  the last known credentials used to access the identified social media accounts, regardless of

  whether the Defendant currently has access to the platform, or whether an account is active,

  inactive, or inaccessible. The parties and any Rule 30(b)(6) representatives—including BURT

  COLUCCI for Defendant NSM and THOMAS RYAN ROUSSEAU for Defendant Vanguard

  America, ECF No. 553—shall work together to provide information to access any social media

  account and to provide any Defendant’s or its representative’s consent to access stored electronic

  communications and other account information to a social media provider. Each Defendant is

  responsible for providing complete and accurate credentials (or consent) to access any social

  media accounts within the Defendant’s control that may contain discoverable information.

         5.      Within fourteen (14) days of this Order, Defendant Identity Evropa shall identify

  each individual in the organization who has control over documents that are responsive to

  Plaintiffs’ discovery requests.

         6.      Within fourteen (14) days of this Order, the parties shall confer and jointly file a

  proposed schedule for completing discovery. The proposed schedule should include specific



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  deadlines for: (a) the Vendor to provide each Defendant access to that Defendant’s imaged

  electronically stored information; (b) each Defendant to review the imaged information and

  produce all discoverable material to Plaintiffs’ counsel in accordance with the Stipulation and

  Order for the Imaging, Preservation, and Production of Documents, ECF No 383; and (c) the

  parties to complete pretrial discovery. If the parties cannot agree on these proposed deadlines,

  they should note the different proposals in their joint filing.

         7.      The Court will hold another status conference call in November.

         The Clerk shall send a copy of this Order to the parties and to non-party representatives

  Mr. Hopper, Mr. Colucci, and Mr. Rousseau.

                                                         ENTER: October 28, 2019



                                                         Joel C. Hoppe
                                                         U.S. Magistrate Judge




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